      Case 8:07-cr-00021-SDM-TGW Document 679 Filed 10/22/07 Page 1 of 8 PageID 1666
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                                                                      CASE NUMBER:       8:07-cr-21-T-23TGW
                                                                      USM NUMBER:        49209-018
VS.


YULEXY HERNANDEZ
                                                                      Defendant's Attorney: Daniel Hernandez, cja

THE DEFENDANT:

X       was found guilty on counts ONE and FOUR of the Indictment after a plea of not guilty.


TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT

21 U.S.C. $§ 846, 841(a)(l)               Conspiracy to Manufacture 100 but            January 10, 2007                   ONE
and 841(b)(l)(A)(vii)                     not more than 999 Marijuana Plants

21 U.S.C. § 841(a)(l) and                 Manufacturing 100 or more Marijuana          January 10, 2007                   FOUR
841(b)(l)(B)(vii), and                    Plants
18 U.S.C. 5 2


The defendant is sentenced as provided in pages 2 through of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: October 22, 2007




                                                                                                                             I

                                                                                           STEVEN D. MERRYDAY '                           1
                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: October 22$' 2007.
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           YULEXY HERNANDEZ                                                                      Judgment - Page 2 of 6
Case No. :           8:07-cr-2 1-T-23TGW

                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
SIXTY (60) MONTHS as to Counts One and Four, both terms to run cor~currently.




  X The court makes the following recommendations to the Bureau of Prisons: confinement at FCI Miami, FL, or as near
to Miami as possible.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          -at - a.m./p.rn. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.




                                                                       RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
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A 0 2458 (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            Y ULEXY HERNANDEZ                                                                          Judgment - Page 3 of 6
Case No. :            8:07-cr-21-T-23TGW
                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MOhTHS as to Counts
One and Four, both terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not conunit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. $ 921.

X          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

I f this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;

        the dcfendant shall report to the probation officer and shall submit a truthfbl and complete written report within the first five days of each
        month;

        the dcfendant shall answer truthfully all inquiries by the probation officer and follow the instructions of thc probation officer;

        the defendant shall support his or her dependents and meet other family responsibilities:

        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or othcr acceptable
        reasons;

        the defcndanl shall notify the probation officer at least tcn days prior to any change in residcncc or employment;

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia relaled to any controlled substances, cxcept as prescribed by a physician;

        the defendant shall not frequent places where controlled substances arc illegally sold, used, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of a felony,
        unless granted permission to do so by the probation officcr;

        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;

        the defendant shall notify the probation officer within scventy-two hours of bcing arrested or questioned by a law enforcement officer;

        the defendant shall not enter into any agrccrnent to act as an inrormer or a special agent of a law enforcement agency without the permission
        of the court; and

        as dirccted by ihe probation officer, the defendant shall notify third parties of risks that may be occasioncd by thc defendant's criminal rccord
        or personal history or characteristics and shall pernlit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
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A 0 2193 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:           YULEXY HERNANDEZ                                                                    Judgment - Page 4 of 6
Case No. :            8:07-cr-21-T-23TGW

                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additioilal conditions of supervised release:


-
X          If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           YULEXY HERNANDEZ                                                                          Judgment - Page 5 of 6
Case No. :            8:07-cr-21-T-23TGW

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                 Fine                         Total Restitution

           Totals:              $200.00                                    $                            $


           The determination of restiptipn is deferred until                   . An Amended Judgnzenl irl a Crirnirzal Case ( A 0 2432) will be
           entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U. S .C. 5
           3664(i), all non-federal victims must be paid before the dnited States.


Name of Payee                                         Total Loss*                     Restitution Ordered               Prioritv or Percentape




                                Totals:               I L                             &-.-

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a f i e or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U. S .C. 5 36 12(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                      the interest requirement is waived for the - fine                    - restitution.

           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1 1OA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994. but before April 23, 1f96.
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A 0 2358 (Rev 06105) Sheet 6 - Schedule of Payn~ents(Judgment in a Criminal Case)

Defendant:           YULEXY HERNANDEZ                                                                Judgment - Page 6of 6
Case No. :           8:07-cr-2 1-T-23TGW



                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                      Lump sum payment of $ 200.00 due immediately, balance due
                                 -not later than                          , or

                                 -in accordance - C, - D, - E or - F below; or
                      Payment to begin immediately (may be combined with -C, -D, or -F below); or
                      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $               over a
                      period of          (e .g., months or years), to commence              days (e.g . , 30 or 60 days) after the
                      date of this judgment; or
                      Payment in equal                   ( e . 8 , weekly, monthly, quarterly) installments of $              over a
                      period of             , (e. g . , mon s or years) to commence                       (e .g. 30 or 60 days) after
                      release from imprisonment to a term of supervision; or
                      Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payment of criminal monetary penalties:




Unless the coun has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during unprisonment. All criminal monetary penalties, except those payments made through the Federal
h r e a u of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
           Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost@):
X
-          The defendant shall forfeit the defendant's interest in the following ro erty to the United States: pursuant to the
                                                                                      87
           "Preliminary Order of Forfeiture" (Doc. 674), dated October 17, 2 0 , attached.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest: (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION




      UNITED STATES OF AMERICA

      v.                                                 CASE NO. 8:07-cr-21 -T-23TGW

      YULEXY HERNANDEZ




                               PRELIMINARY ORDER OF FORFEITURE

             The United States moves (Doc. 650) pursuant to 21 U.S.C. § 853 and Rule 32.2(b),

       Federal Rules of Criminal Procedure, for entry of a preliminary order of forfeiture, which, at

       sentencing, shall be a final order of forfeiture as to defendant Yulexy Hernandez's interest

       in property subject to forfeiture. The United States has established the requisite nexus

       between the real property and the violations charged in counts one and four, and the jury

       found the defendant guilty of the offenses charged in counts one and four. Accordingly,

       the real property facilitated the manufacture of marijuana and is subject to forfeiture

       pursuant to 21 U.S.C. § 853.

             The motion is GRANTED. All right, title, and interest of Yulexy Hernandez in:

             Real property located at 480 Heather Court, Bartow, Florida, which is legally
             described as follows:

             Lot 56, PEACE RIVER OAKS, according to map or plat thereof as recorded in
             Plat Book 70, Page 40 of the Public Records of Polk County, Florida.

             Parcel Identification Number: 282926-691000-000560.
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       is CONDEMNED and FORFEITED to the United States of America for disposition

       according to law. The court retains jurisdiction to dispose of any third-party claim and to

       enter any order necessary for the forfeiture and disposition of the property.

             ORDERED in Tampa, Florida, on October 17,2007.




                                                                   STEVEN D. MERRYDAY
                                                              UNITED STATES DISTRICT JUDGE
